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     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                            Northern Division

LICKERISH, LTD., WILLY CAMDEN,
STEPHAN WURTH, CHRISTOPHER LANE,
DAMEA DORSEY, ZACH RAMSEY and
JOEY WRIGHT,

               Plaintiffs,                                  Case No. 1:18-cv-3462

v.
                                                            JURY TRIAL DEMANDED
GUNAXIN MEDIA LLC,
1609 Highbridge Court
Hanover, Maryland 21076

Serve on Resident Agent:
Phillip Van Der Dossen
1609 Highbridge Court
Hanover, Maryland 21076

               Defendant.


                    COMPLAINT FOR COPYRIGHT INFRINGEMENT
                         (INJUNCTIVE RELIEF DEMANDED)

       Plaintiffs LICKERISH, LTD., WILLY CAMDEN, STEPHAN WURTH,

CHRISTOPHER LANE, DAMEA DORSEY, ZACH RAMSEY and JOEY WRIGHT, by and

through undersigned counsel, bring this Complaint against Defendant GUNAXIN MEDIA LLC

for damages and injunctive relief, and in support thereof states as follows:

                                SUMMARY OF THE ACTION

       1.      Plaintiffs bring this action for violations of their exclusive rights under the

Copyright Act, 17 U.S.C. § 106, to copy, display and distribute Plaintiffs’ original copyrighted

works of authorship.

       2.      Defendant GUNAXIN MEDIA LLC (“GMLLC”) is an online magazine that

targets men focusing primarily on sports, humor, media, motors, gadgets, food, and travel.
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        3.      Plaintiffs allege that GMLLC copied Plaintiffs’ copyrighted Works from the

internet in order to advertise, market and promote its business activities. GMLLC committed the

violations alleged in connection with GMLLC’s business for purposes of advertising and

promoting sales to the public in the course and scope of GMLLC’s business.

                                   JURISDICTION AND VENUE

        4.      This is an action arising under the Copyright Act, 17 U.S.C. § 501.

        5.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

§§ 1331, 1338(a).

        6.      Defendant is subject to personal jurisdiction in Maryland.

        7.      Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)

because the events giving rise to the claims occurred in this district, Defendant engaged in

infringement in this district, Defendant resides in this district, and Defendant is subject to

personal jurisdiction in this district.

                                             PARTIES

        8.      LICKERISH, LTD. (“Lickerish”) is a high quality photographic syndication

company that provides images to communication business. Through its extensive library of

pictures of celebrities and models taken by internationally renowned photographers, Lickerish

has developed a large worldwide clientele.

        9.      WILLY CAMDEN (“Camden”) is a photographer whose works are syndicated by

Lickerish. Camden is an international photographer with many years in the photography

business. He started his career assisting Mario Testino and Ellen Von Unwerth and over the

course of 20 years developed his own unique and unmistakable style. Camden’s work has been

featured everywhere from GQ to Vogue to Photo Magazine. Camden has shot some of the

world’s most beautiful and successful women, created innovative and colorful advertising

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campaigns for many clients, including Elizabeth Arden, Hugo Boss and Esprit, and continues to

work with top ad agencies such as Saatchi and Saatchi, TBWA and BBH.

          10.   STEPHAN WURTH (“Wurth”) is a photographer whose works are syndicated by

Lickerish. Wurth is a photographer originally from Germany who grew up between Munich,

Texas and California. He discovered photography at the age of 14 during a family vacation to

Spain. In 2000, he enrolled in the Art Institute of Fort Lauderdale to study photography. After

graduating, he became a full-time photographer. Wurth’s work has been featured in Vogue, The

New York Times, Porter Magazine, GQ, Playboy, Esquire, Galore Magazine, Treats Magazine

and Sports Illustrated Swimsuit Edition among others. His clients have included Levi’s,

Bonobos, Virgin Atlantic, A Pea in the Pod and he has photographed celebrities including Serena

Williams, Venus Williams, Pharrell Williams, Alison Brie, Maria Sharapova, Ivanka Trump,

Kelly Rutherford and Andy Cohen. In 2011, Wurth released his first book “Ghost Town” and

followed that up with “Ikinga.”

          11.   CHRISTOPHER LANE (“Lane”) is a photographer whose works are syndicated

by Lickerish. Lane is an English born photographer who is based in New York and specializes

in documentary and portrait photography. He has a unique style, which offers up new

perspectives on visualizing our culture. Lane is recognized for his personal work and was among

the Emerging Photographer for the Magenta Foundation and awarded ADC Young Gun. Lane’s

work has been shown at the National Portrait Gallery on three separate occasions, and has been

featured in AAR Magazine, ESPN Magazine, Fortune Magazine, London Times, Mens Fitness

Magazine, New York Times Magazine, the Washingtonian and more. His clients include

Associated Press, CB Richard Ellis, L’Oréal, Microsoft, Nike, Red Bull, Sony, Pfizer, among

others.




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       12.     DAMEA DORSEY (“Dorsey”) is a photographer whose works are syndicated by

APIX and Lickerish. Dorsey is a renowned photographer from California who is now based in

Bali. Dorsey has a knack for shooting water imagery in the ocean and has traveled the globe

time and time again shooting notable surfing professionals. His photos have appeared in and on

the covers of many major international surfing publications such as Transworld Surf, Surfer,

Surfing, Australian Surfing Life, Waves and many more. Dorsey’s clients include Red Bull,

Hurley, Volcom, Billabong, Quiksilver, Rip Curl and the like.

       13.     ZACH RAMSEY (“Ramsey”) is a photographer whose works are syndicated by

APIX and Lickerish. Ramsey is an internationally known photographer residing in Miami

Beach, Florida. His clients include KO Watches, Lauren Cecchi, Aruna Seth, FHM Mens Health

Magazine, New York Post, Lifestyle for Men Magazine, Zoo Magazine and more.

       14.     JOEY WRIGHT (“Wright”) is a photographer whose works are syndicated by

APIX and Lickerish. Wright is a distinguished Miami-based swimwear and lifestyle

photographer. His work, primarily trademarked by its tastefully alluring and meticulously

detailed quality, always reflects his easy-going approach balanced by a perfectionist nature.

Wright earned first place in the 2014 Edge Shave Gel – Sports Illustrated Swimsuit Edition

“Dream Job” contest. He has been featured on SI.com, “Light It” Digital Magazine,

Fstoppers.com, The Art of Unpredictability and The New York Times and his clients include

Montce Swimwear, Ravish Sands Swimwear, Noelle Swimwear, Beach Gal Swimwear, Ford

Models, Next Model Management, Atlanta Falcons Cheerleaders, the Seminole Hard Rock Hotel

& Casino, and others.

       15.     Gunaxin Media LLC is a Maryland limited liability company with its principal

place of business at 1609 Highbridge Court, Hanover, Maryland, 21076, and can be served by

serving its Registered Agent, Philip Van Der Vossen at the same address.

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                         THE COPYRIGHTED WORKS AT ISSUE

       16.     The 29 photographs which are the subject of this matter are listed and shown in

Exhibit 1 hereto and are referred to herein as the “Works”.

       17.     The Works were registered with the Copyright Office as shown in the table

below. The Certificates of Registration are attached hereto as Exhibit 2.

                Photo Title                Registration                 Registration Date
                                            Number
1      Anna_Kournikova_012.jpg             VA 1-979-864                     06 Aug 2015

2      3Y4O0063                            VA 2-046-371                     10 May 2017

3      3Y4O0102                            VA 2-046-371                     10 May 2017

4      680                                 VA 2-046-371                     10 May 2017

5      3Y4O0125                            VA 2-046-371                     10 May 2017

6      DD_20081203_Hawaii_0690             VA 2-046-371                     10 May 2017

7      IMG_9688                            VA 2-048-407                     19 Apr 2017

8      AS01-005-001.jpg                    VA 2-044-629                     03 May 2017

9      AS01-005-003.jpg                    VA 2-044-629                     03 May 2017

10     AS01-005-004.jpg                    VA 2-044-629                     03 May 2017

11     AS01-005-005.jpg                    VA 2-044-629                     03 May 2017

12     AS01-005-007.jpg                    VA 2-044-629                     03 May 2017

13     AS01-005-009.jpg                    VA 2-044-629                     03 May 2017

14     AS01-005-010.jpg                    VA 2-044-629                     03 May 2017

15     AS01-005-011.jpg                    VA 2-044-629                     03 May 2017

16     AS01-005-012.jpg                    VA 2-044-629                     03 May 2017

17     AS01-005-013.jpg                    VA 2-044-626                     03 May 2017

18     AS01-005-014.jpg                    VA 2-044-626                     03 May 2017



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                Photo Title                 Registration                 Registration Date
                                             Number
19     Brooke_Burke_(7).jpg                VA 2-020-374                     13 Sept 2016

20     Carmen_Electra_(31).jpg             VA 1-823-031                     26 Jun 2012

21     Carmen_Electra_(33).jpg             VA 1-823-031                     26 Jun 2012

22     CL-MK-12001015.jpg                  VA 1-833-167                     28 Jun 2012

23     CLOSE_G.jpg                         VA 1-823-023                     18 Jun 2012

24     image010.jpg                        VA 1-823-023                     19 Jun 2012

25     mila_7-0108.jpg                     VA 1-833-167                     29 Jun 2012

26     Mila_Kunis_002.jpg                  VA 1-833-167                     29 Jun 2012

27     Mila_Kunis_006.jpg                  VA 1-833-167                     29 Jun 2012

28     Mila_Kunis_012.jpg                  VA 1-833-167                     29 Jun 2012

29     Mila_Kunis_017.jpg                  VA 1-833-167                     29 Jun 2012

       18.     At all relevant times the plaintiffs were the owners and/or exclusive rights holders

of the copyrighted Works at issue in this case.

                              INFRINGEMENT BY DEFENDANT

       19.     GMLLC has never been licensed to use the Works at issue in this action for any

purpose.

       20.     On a date after the Works at issue in this action were created, but before the filing

of this action, GMLLC copied the Works.

       21.     GMLLC copied the Works without Plaintiffs’ permission.

       22.     After GMLLC copied the Works, it made further copies and distributed and

displayed the Works on the internet to promote the sale of goods and services as part of its online

magazine.




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        23.      GMLLC copied, displayed and distributed the Works in connection with

GMLLC’s business for purposes of advertising and promoting GMLLC’s business, and in the

course and scope of advertising and selling products and services.

        24.      The Works are protected by copyright but are not otherwise confidential,

proprietary, or trade secrets.

        25.      GMLLC committed copyright infringement of the Works as evidenced by the

documents attached hereto as Exhibit 3.

        26.      Plaintiffs never gave GMLLC permission or authority to copy, distribute or

display the Works at issue in this case.

        27.      Plaintiffs notified GMLLC of the allegations set forth herein on February 1, 2018

and March 29, 2018. To date, GMLLC has failed to respond to Plaintiffs’ Notices. Copies of

the Notices to GMLLC are attached hereto as Exhibit 4.

                                        COUNT I
                                 COPYRIGHT INFRINGEMENT

        28.      Plaintiffs incorporate the allegations of paragraphs 1 through 27 of this Complaint

as if fully set forth herein.

        29.      Plaintiffs own valid copyrights in the Works at issue in this case.

        30.      Plaintiffs either registered the Works or applied for registration of the Works at

issue in this case with the Register of Copyrights pursuant to 17 U.S.C. § 411(a).

        31.      GMLLC copied, displayed, and distributed the Works at issue in this case and

made derivatives of the Works without Plaintiffs’ authorization in violation of 17 U.S.C. § 501.

        32.      GMLLC performed the acts alleged in the course and scope of its business

activities.

        33.      Plaintiffs have been damaged.



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          34.     The harm caused to Plaintiffs has been irreparable.

          WHEREFORE, the Plaintiffs pray for judgment against the Defendant GMLLC that:

          a.      Defendant and its officers, agents, servants, employees, affiliated entities, and all

of those in active concert with them, be preliminarily and permanently enjoined from committing

the acts alleged herein in violation of 17 U.S.C. § 501;

          b.      Defendant be required to pay Plaintiffs their actual damages and Defendant’s

profits attributable to the infringement, or, at Plaintiffs’ election, statutory damages, as provided

in 17 U.S.C. § 504;

          c.      Plaintiffs be awarded their attorneys’ fees and costs of suit under the applicable

statutes sued upon; and

          d.      Plaintiffs be awarded such other and further relief as the Court deems just and

proper.

                                                 Respectfully submitted,

                                                 STRAVITZ LAW FIRM, PC


                                         By:     /s/ Eric N. Stravitz
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                                                 F: (240) 467-5743
                                                 E: eric@stravitzlawfirm.com
                                                 Counsel for Plaintiffs


                                           JURY DEMAND

          Plaintiffs hereby demand a trial by jury of all issues so triable.

                                                 s/ Eric N. Stravitz
                                                 Eric N. Stravitz (Bar No. 23610)



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